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                                              IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                                 COURT MINUTES - CRIMINAL
                                                                                 BEFORE: LEO I. BRISBOIS
                                     Plaintiff,                                     U.S. Magistrate Judge
   v.
                                                                    Case No:            20-cr-259 (JRT/LIB)
 Edward Duane Fairbanks,                                            Date:               December 7, 2020
                                                                    Courthouse:         Duluth
                                     Defendant.                     Courtroom:          Zoom from Courtroom 3
                                                                    Court Reporter:     Digital Recording
                                                                    Time Commenced:     4:03 p.m.
                                                                    Time Concluded:     4:07 p.m.
                                                                    Time in Court:       4 minutes


X DETENTION HRG ONLY



APPEARANCES:
   Plaintiff:                        Deidre Y Aanstad, Assistant U.S. Attorney
   Defendant:                        Paul C Engh, CJA
   Pretrial Services:                Houa Vang


On X Indictment

X Government persists in its motion for pretrial detention. X Granted. Govt to submit proposed order.

Additional Information:

X Defendant waived the detention hearing.

X Defendant consents to this hearing via video conference.

X Defendant arraigned, see arraignment minutes and order.




                                                                                                                    s/JLB
                                                                                         Signature of Criminal Duty Clerk




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